AQ 93 (Rev. 11/13) Search and Seizure Warrant (Page 2) Vit LE y,
. S os
Return EP / 4 2p»
‘} Case No.: Date and time warrant executed: Copy of warrant and inverfoy. as Pf:
22 -y Ha Wem} 74-22 8 Sriiein USPLS - CLT !StRICGT COU,

Inventory madéh the presence of :

EC

Pastel Engpector Chad Stoain / Forest Crhy NO Police Dept. Defetve Dylen Radford

Inventory of the property taken and name of any person(s) seized:

= C1) gray colored teshier
- ( 5) plaste worepped bundles of mariyucad toe ishing

approvimelely G (6s Y ounces

Certification -

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the

designated judge.

Date: G-/ Y-22

Mlh-Guo

Executing afficer’s signature
ig 8

Chad Swain, U.S. Postal Inspector

Printed name and title

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AO 93 (Rev. LL 13) Search and Seizure Warrant

May
© SOA

UNITED STATES DISTRICT COURT

for the
Western District of North Carolina

In the Matter of the Search of
(Briefly describe the property to be searched

)
)
or identify the person by name and address} } Case No. \ 22> My LY ~ CSL)
} .
)

Priority Mail Express Parcel with tracking number
El027286908US, currently located at 5917 Brevard Road, ©

Asheville, NC 28806. )
SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person cr property located in the Western District of North Carolina
fidentify the person or describe the property to be searched and give its location):

Priority Mail Express Parcel with tracking number El027286908US, currently located at 591 Brevard Road,
Asheville, NC 28806.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (denrify the person or describe the property to be seized):
Controlled substances and/or materials reflecting the distribution of controlled substances through the U.S.
Mail.

YOU ARE COMMANDED to execute this warrant on or before 7: a 5/20 @2_ (not to exceed 14 days)
@ in the daytime 6:00 a.m. to 10:00 p.m. Oat any time in the day or night fecaue good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the

property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory

as required by law and promptly return this warrant and inventory to W. Carleton Metcalf, U.S. Magistrate Judge
: (United States Magistrate Judge)

[1 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

OF for days (not to exceed 30) 1 until, the facts justifying, the later specific date of
Date andtimeissued: ly 022. 330 fr
City and state: Asheville, North Carolina W. Carleton Mejcalf, U.S. Magistrate Judge, WONC

"Printed name and title

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